Case:23-00038-LTS
        Case 3:23-cv-01326
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         Appendix Exhibit 11 to Injunction Request Dkt 2-11 Page 1 of 2
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         Appendix Exhibit 11 to Injunction Request Dkt 2-11 Page 2 of 2
